         Case 1:17-cv-02989-AT Document 1430 Filed 07/26/22 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF GEORGIA


    DONNA CURLING, ET AL.,

                                Plaintiffs,
                                                                       No. 1:17-CV-2989-AT
                              v.
                                                                             RESPONSE
    BRAD RAFFENSPERGER, ET AL.,

                                Defendants.



       The U.S. Cybersecurity and Infrastructure Security Agency (CISA) respectfully submits

this response to the Court’s June 24, 2022 order, ECF No. 1406, directing “CISA to submit

privileged and confidential redaction recommendations relative to Dr. Halderman’s report by

July 22, 2022.”

       CISA previously informed the Court of its concern that dissemination of the report, even

in redacted form, while the coordinated vulnerability disclosure (CVD) process was ongoing

could pose a threat to election security. See ECF No. 1314. Specifically, CISA noted that

premature disclosure, before potential vulnerabilities could be addressed through appropriate

mitigation actions, could increase the risk that malicious actors could exploit any vulnerabilities

and threaten election security, and that, in order to best promote the security of critical voting

infrastructure, any vulnerabilities should be disclosed at the conclusion of the CVD process. We

further informed the Court that CISA supports public disclosure, with maximum appropriate

transparency, of information about vulnerabilities and their associated mitigations after those

mitigation measures have been developed and applied through the CVD process. See id.
         Case 1:17-cv-02989-AT Document 1430 Filed 07/26/22 Page 2 of 2




       Accordingly, CISA publicly disclosed certain information about potential vulnerabilities

and associated mitigations on June 3, 2022. See ECF No. 1391. CISA also notes that, after

conclusion of the CVD process, it is common for researchers to independently release their

reports publicly.

       It now has been 49 days since the public release of CISA’s advisory, which has allowed

affected end users additional time to implement the recommended mitigation measures contained

in CISA’s public advisory. In light of these facts, CISA respectfully submits that Plaintiffs’

most-recent proposed redactions appropriately manage the risk to election security while

advancing security through transparency. CISA thus does not propose additional redactions for

the Court to consider.

                                                   Respectfully submitted,


                                                  BRIAN M. BOYNTON
                                                  Principal Deputy Assistant Attorney General

                                                  BRIGHAM BOWEN
                                                  Assistant Branch Director

                                                   /s/ Kate Talmor
                                                  KATE TALMOR
                                                  Trial Attorney
                                                  Civil Division
                                                  Federal Programs Branch
                                                  US Department of Justice
                                                  1100 L St., NW
                                                  Washington, DC 2005
                                                  202-305-5267
                                                  kate.talmor@usdoj.gov
